           Case 2:96-cr-00282-JAM Document 367 Filed 06/08/10 Page 1 of 2


1    BENJAMIN B. WAGNER
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     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: 916-554-2763
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7
8               IN THE UNITED STATES DISTRICT COURT FOR THE
9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )         CR. NO. CR-S-96-282-JAM
                                        )
12             Plaintiff,               )         MOTION AND ORDER
                                        )         DISMISSING INDICTMENT
13        v.                            )
                                        )
14   JOHN DOE II, aka “Robert”,         )
     aka NURSE ROBERT, aka ROBERT NURSE )
15                                      )
               Defendant.               )
16   ___________________________________)
17
          The United States of America, by and through its undersigned
18
     attorney, Mary L. Grad, Assistant United States Attorney,
19
     respectfully requests that this Court dismiss without prejudice
20
     the above-captioned Superseding Indictment against defendant JOHN
21
     DOE II, aka “Robert”, aka NURSE ROBERT, aka ROBERT NURSE.
22
          This motion is made pursuant to the provisions of Rule 48(a)
23
     of the Federal Rules of Criminal Procedure
24
25   DATED: June 8, 2010                     BENJAMIN B. WAGNER
                                             United States Attorney
26
27                                           By  /s Mary L. Grad
                                               MARY L. GRAD
28                                           Assistant U.S. Attorney

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           Case 2:96-cr-00282-JAM Document 367 Filed 06/08/10 Page 2 of 2


1                                   O R D E R
2
3         It is ordered that the above-captioned Superseding
4    Indictment be and is hereby dismissed without prejudice against
5    JOHN DOE II, aka “Robert”, aka NURSE ROBERT, aka ROBERT NURSE.
6
7    DATED: June 8, 2010                     /s/ John A. Mendez
                                             JOHN A. MENDEZ
8                                            United States District Judge
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